The Columbia Conserve Company, Petitioner, v. Commissioner of Internal Revenue, RespondentColumbia Conserve Co. v. CommissionerDocket No. 104257United States Tax Court2 T.C. 422; 1943 U.S. Tax Ct. LEXIS 102; July 16, 1943, Promulgated *102 Decision will be entered under Rule 50Dividends Paid Credit.  -- Fair market value of notes determined and credit allowed in that amount where dividend was declared and paid in part in notes of the corporation.  Bruce H. Johnson, Esq., and Frank C. Olive, Esq., for the petitioner.Edward C. Adams, Esq., for the respondent.  Murdock, Judge.  Leech, Mellott, Tyson, Disney, and Kern, J. J., dissent.  Turner, J., dissenting.  MURDOCK *422  The Commissioner determined a deficiency of $ 8,958.99 in income tax for the fiscal year ended June 30, 1937.  The only error assigned in the petition is the action of the Commissioner in disallowing a dividends paid credit in the amount of $ 38,555.35, representing a *423  dividend paid in obligations of the petitioner.  The Commissioner, in determining the deficiency, allowed a dividends paid credit of $ 390.40 but, by an amended answer filed at the hearing, claims an increased deficiency on the ground that he erred in allowing that dividends paid credit.FINDINGS OF FACT.The petitioner is a corporation which was organized in 1910 under the laws of Indiana.  It keeps its books and files its returns on an accrual *103  basis.  The return for the taxable year was filed with the collector at Indianapolis.  The petitioner claimed on that return a dividends paid credit in the amount of $ 38,945.75.The petitioner is engaged in the business of canning fruits.  Most of its stock is held by members of the Hapgood family and employees.  The officers and employees of the petitioner were advised at frequent intervals of its financial affairs.  Its outstanding stock on June 1, 1937, consisted of 2,110.1 shares of $ 100 par common and 1,914.39 shares of $ 100 par value 7 percent preferred.  No dividend had been paid on the preferred stock since June 30, 1931.  Income for the taxable year, as adjusted by the Commissioner, amounted to $ 52,420.45, and adjusted net income for that year was $ 45,084.01.  The petitioner needed all of its available funds for the tomato packing season, which came early in the fiscal year.The directors of the petitioner on June 16, 1937, declared a dividend of 21 percent on the preferred stock, representing the dividends due for 1932, 1933, and 1934.  The dividend was payable on June 18 to stockholders of record on June 1 in negotiable promissory notes of the petitioner, except that*104  for the purpose of minimizing bookkeeping and expense the holders of one share or less were to be paid in cash.  The notes were in three series, series A, representing the dividend for 1932, matured on July 15, 1940, series B, representing the dividend for 1933, matured a year later, and series C, representing the dividend for 1934, matured another year later.  The total amount of the dividend was $ 38,945.75, of which $ 390.40 was paid in cash to holders of one share or less and the remainder was paid in the notes.  The notes were distributed to about 151 stockholders, of whom about 65 or 70 were employees of the petitioner.The notes were identical except for amounts and maturity dates.  Each bore interest at the rate of 5 percent per annum.  Each contained provisions stating that it was subordinate to the rights of general creditors; the holder of the note could bring no action for receivership, bankruptcy, liquidation, or dissolution against the company for default on the note; and the petitioner reserved the right to pay the notes in whole or in part on a pro rata basis at par prior to maturity.*424  Interest was paid on all of the notes as it became due, but none of the*105  series A or series B notes was paid at its maturity. The petitioner began to pay off the notes in September 1941, and between that time and the date of the hearing on May 19, 1942, it had paid off all of the notes with the exception of a few, the total amount of which was less than $ 1,000.The Commissioner, in determining the deficiency, allowed a dividends paid credit to the extent of $ 390.40, representing the cash paid, but disallowed the balance of $ 38,555.35, representing the amount of the notes.The following is a statement of the petitioner's gross sales and net income or loss, together with dividends paid, for the years indicated:Gross salesNet income orDividends paidloss1924$ 792,021.54$ 71,759.67&nbsp;1925957,891.8096,591.02&nbsp;2 $ 47,661.351926865,452.7657,506.10&nbsp;2 26,029.601927 1322,522.38(39,400.91)2 22,387.801928837,463.89(12,037.48)19291,180,670.31100,451.26&nbsp;2 32,341.3519301,571,244.52103,389.91&nbsp;20,440.4619311,222,604.5623,935.87&nbsp;8,176.581932783,616.60(69,002.37)1933616,793.43(85,970.82)1934647,102.9112,681.43&nbsp;1935821,156.2218,241.22&nbsp;1936869,023.825,405.60&nbsp;1937773,111.7050,642.44&nbsp;38,945.75*106 The following is a statement of the petitioner's assets, liabilities and capital at the beginning and the end of its fiscal year 1937, as shown on its income tax return for that year:Beginning ofEnd of YearYearAssets:Cash$ 4,227.97$ 4,787.15Accounts receivable (less reserve)40,648.2229,965.45Notes receivable14,161.4014,139.68Inventories147,357.87238,416.85Investments -- farms, etc39,444.3140,199.30Deferred charges5,569.206,117.48Cash value of life insurance30,506.8633,253.42Restricted bank balance997.11830.94Machinery and equipment, furniture and fixtures,delivery equipment, etc., (less reserves)134,349.04136,892.71Land26,855.7925,074.70Deficit101,284.3098,541.01Total545,402.07628,218.69Liabilities and capital:Notes payable74,127.6993,441.86Accounts payable35,450.7652,608.94Bonds and notes (unsecured)18,956.3157,511.66Mortgages11,093,2010,429.48Accrued expenses3,325.1111,677.75Capital stock:Preferred191,439.00191,539.00Common211,010.00211,010.00Total545,402.07628,218.69*107 *425  The fair market value of the notes on June 18, 1937, was equal to their face value.OPINION.A surtax on undistributed profits is imposed under section 14 of the Revenue Act of 1936.  Certain credits are allowed, including one for dividends paid. See section 27.  The latter section provides that the dividends paid credit in general shall be the amount of dividends paid during the taxable year. Subsection (d) is as follows:(d) Dividends in Obligations of the Corporation.  -- If a dividend is paid in obligations of the corporation, the amount of the dividends paid credit with respect thereto shall be the face value of the obligations, or their fair market value at the time of the payment, whichever is the lower.  If the fair market value is lower than the face value, then when the obligation is redeemed by the corporation, the excess of the amount for which redeemed over the fair market value at the time of the dividend payment (to the extent not allowable as a deduction in computing net income for any taxable year) shall be treated as a dividend paid in the taxable year in which the redemption occurs.The Commissioner, in disallowing the credit, must have concluded that*108  the notes had no fair market value, since that alone would explain his allowance of a credit to the extent of the small amount of cash paid. He did not suggest that the dividend was preferential. The determination of the Commissioner that the notes had no fair market value is presumed to be correct until proven otherwise.  The first issue then is one of fact -- what was the fair market value of the notes at the time they were distributed? We have concluded from all of the evidence that there is a clear preponderance in favor of the petitioner, and a finding has been made that the fair market value of the notes at the time they were distributed was equal to their full face value.That finding completely disposes of the case, because the argument of counsel for the Commissioner that the dividend was preferential within the meaning of (g) is made only if we hold that the fair market value of the notes was less than their face value. Cf. I. T. 4514, C. B. XV-2, p. 90.  His whole argument as made falls with the finding that the notes had a fair market value equal to their face value.Decision will be entered under Rule 50TURNER Turner, J., dissenting: The question here is *109  the amount of dividends paid credit, if any, to which petitiner is entitled under section 27 of the Revenue Act of 1936 in determining its adjusted net income nuder section 14 of the act.  A dividend was paid partely in cash and *426  partly in notes and under section 27 (d), the petitioner is entitled to a dividends paid credit to the extent of the fair market value of the notes plus the amount of the cash, except and unless the dividend so paid was a preferential dividend under section 27 (g), 1 by reason of the fact that the notes had a value less than face and the stockholders receiving cash were thereby preferred over the stockholders receiving notes, in which event no dividends paid credit in any amount would be allowable. By finding that the notes had a fair market value at the date of issue equal to face, the Court has obviated the necessity for deciding the applicability of section 27 (g).  The finding that the fair market value of the notes was equal to face is, in my opinion, however, wholly contrary to the evidence of record, which, when considered and weighed, leaves as the basis for such conclusion of value only the opinion testimony of interested witnesses, not*110  seen nor heard by any of the Judges deciding the case.At the time the notes were issued the capital of the petitioner, as shown by its own exhibits and admissions, was substantially impaired and under the law of Indiana a corporation in such circumstances not only had no power to declare and pay a dividend, but the statute contained a direct prohibition against such distribution.  Burns Indiana Statutes, Ann., 1933, vol. 6, p. 27, par. 25-211.  In addition to the prohibition against the corporation, the statute specifically imposed liability upon the directors of the corporation in the event of a knowing and willful declaration or assent to the payment of a dividend under the above circumstances.  Burns Indiana*111  Statutes, Ann., 1933, vol. 6, p. 55, par. 25-251.  For the fiscal year ended June 30, 1931, and for a period of several years prior thereto, the net income of the petitioner was such as to indicate the existence of surplus earnings from which a dividend might have been paid.  The evidence shows, however, that as early as June 30, 1932, the petitioner not only had no surplus of any kind, but a deficit of $ 40,851.50, and that the smallest deficit at the close of any subsequent year was $ 98,541.01 at the close of the taxable year. The dividends shown to have been paid do not wholly account for the use or dissipation of the early earnings, but the deficit may have resulted, to some extent, from the application of earnings in payment for common stock for employees, of which the employees acquired some seventy-odd percent.  In any event, the fact that the petitioner was a deficit corporation with its capital impaired and not only recognized its status as such but knew that the payment of a dividend in such circumstances was in violation of Indiana law, *427  appears from the testimony of petitioner's president and otherwise in the record.Thus we have a corporation which had earnings*112  of approximately $ 50,000 during the taxable year and by reason thereof was faced with a substantial undistributed profits tax unless distribution should be made or a credit therefor otherwise obtained.  There were two deterrents to the payment of a dividend by petitioner.  First, it did not have the funds with which to pay a dividend and had to have the very small amount of cash which it did have for current operations, and, second, the profits for the year having been more than absorbed by losses amounting to some $ 118,000 net for the five years immediately preceding, it had no surplus from which it might pay a dividend, and for that reason was prohibited by state law from paying a dividend. In this dilemma, the petitioner proceeded with the issuance of the notes.The notes were not in the form commonly used to establish an ordinary note indebtedness, but on their face severely limited the rights of the holders. The recipients and all subsequent holders were put on notice that any and all rights which they might have were "subject, junior and subordinate, to the rights and remedies of all creditors of said Company from time to time existing so long" as the said notes should remain*113  outstanding, and, further, that they would not be entitled to participate in the assets of the company or the proceeds of any sale or disposition thereof until all creditors, common or otherwise, whether they became creditors before or after the issuance of the notes, should have their obligations "paid in full." The notes also contained specific prohibition against the institution of receivership, bankruptcy, liquidation, or dissolution proceedings in the event of default in the payment of principal or interest.  In addition, they carried a provision that no recourse should be had against the officers or directors for the payment of principal or interest.  That this latter provision was inserted in the notes for the specific purpose of avoiding the liability provided by the Indiana statute for the willful declaration or assent to the payment of a dividend, under the circumstances here, was acknowledged by petitioner's counsel in his opening statement.With such restrictions and limitations blanketing the notes and serving as red flags of warning to any willing buyer desiring to buy notes but not required to buy, the only reasonable conclusion, in my opinion, is that no such buyer*114  would have paid an amount even approaching face for the said notes, if, in fact, he would have considered buying them at any price.  Then, too, the normal safeguards usually placed in notes or evidences of indebtedness for the protection of the holders thereof are noticeably absent.  They do not contain, for instance, the common provision accelerating maturity in the event of default in the payment of interest, but, as above noted, the payment *428  of both principal and interest is made secondary to the payment of all other creditors, common or otherwise, whether they became creditors before or after the issuance of the notes.  It may be that a noteholder could have brought and maintained a suit to collect in the event of default at maturity and that the corporation, having issued the notes, could not have set up the defense of illegality, but certainly it would seem that the holders of the common stock, out of whose interest in the corporation the notes would have to be paid, could have required their cancellation and could have defeated their payment.  In any event, the cloud of illegality hung over the notes from the date of their issuance and the fair market value, if any, *115  was necessarily and substantially depressed thereby.As showing that the notes had a value equal to face at the time of issuance, petitioner relies on the sale of two of the notes at face and 13.05 shares of preferred stock at par, and on the opinion testimony of certain of its officers and stockholders, each such person being the owner of some of the notes.  The notes sold were quite small, one being $ 228.92 in amount and the other $ 72.60.  The purchaser of the notes and 12.05 shares of preferred stock was petitioner's president, and the seller of the larger note and the said shares was his sister-in-law, who was in need of money, while the seller of the smaller note was his son's sister-in-law. No other notes were bought or sold by anyone for any price.  The other single share of preferred stock was bought from petitioner by the president's secretary and was paid for by the application of a bonus received in connection with her employment.  Opinion testimony at its best is probably the least desirable of all forms of evidence, and in this instance the opinions expressed were not the opinions of disinterested witnesses.  After hearing those witnesses testify and noting their demeanor*116  on the stand, it is my opinion that no one who saw them and heard their testimony could have failed to reach the conclusion that sentiment and personal interest were the important factors in the formation of the opinions expressed.  In the case of the president of the corporation, the corporation and its affairs were a fetish with him, particularly because of the employee participation in ownership and management which he had instituted, and it is doubtful that he could have seen any weakness in anything even remotely connected with the corporation.  Praiseworthy and commendable though they may be, sentiment and emotion are not trustworthy factors in the formation of opinion as to fair market value. As for the two women witnesses, no proper impression can be had from the reading of their testimony alone.  The two men other than the president of the company were plainly of limited experience and were unimpressive in their testimony.  Probably the major reason advanced by petitioner's president and vice president for the acceptance of their opinions as to the fair market value of the *429  notes was their knowledge of and experience in the canning business and in petitioner.  In*117  explanation of their reason for believing the notes would be paid and were therefore equal to face in value, they testified that the canning business ran in cycles and they felt that the canning business in general and the petitioner with it were entering a prosperous cycle.  That such was the case, they thought, was indicated by the fact that, while during the five years just preceding the company had sustained a substantial net loss, it had during the taxable year earned approximately $ 50,000.  The experiences which followed, however, do not corroborate but to the contrary discredit their judgment, in that the company sustained net losses of $ 14,311.36, $ 32,070.62, $ 39,585.91, and $ 7,145.80 for the four years succeeding, and it was not until the fiscal year 1942 that it again had a profit.  By June 30, 1941, the deficit or impairment of capital had grown to $ 210,521.27 and the notes maturing in 1940 and 1941 were not paid when due but had to await the profits in 1942 for payment.  In the light of the facts shown and admitted of record, and previously noted, the impotence of the above sales and opinions as evidence establishing the fair market value of the notes at face is, *118  in my opinion, so obvious that further comment thereon would be wholly redundant.In direct contrast with the above witnesses was the witness called by the respondent to give opinion testimony on the value of the notes.  He was a man of wide experience in the securities field and had sold, dealt in, and valued securities for a great many years.  He had no interest in the petitioner and his views were impersonal and were objectively formed and expressed.  He was convincing and impressive in his testimony.  It was his opinion that the notes of the petitioner issued under the circumstances herein and containing the restrictions and limitations appearing in these notes had no fair market value and could not have been sold to anyone, except and unless the prospective purchaser had some interest in the petitioner in addition to and beyond the notes themselves.No one will say that the petitioner was not in a hard position in 1937 with respect to the tax on undistributed profits, but in that situation it was no different from hundreds of other deficit corporations.  It may be that a way to the solution of this taxpayer's difficulty has been opened by section 501 of the Revenue Act of 1942*119  and, if so, it possibly may still move in that direction.  On the issue here, however, the petitioner in no event is entitled to a dividends paid credit beyond the cash plus the fair market value of the notes, and we should not be enticed into finding a fair market value for the notes in excess of that justified by the evidence, even though a finding of value less than face might require the conclusion that the dividend paid was preferential, under section 27 (g), supra, and that no dividends paid *430  credit in any amount was therefore allowable. The power to legislate being in Congress, not in us, we may not by striving relieve a taxpayer of a tax burden which Congress has seen fit to impose.  Helvering v. Strong Manufacturing Co., 317 U.S. 102, and Helvering v. Northwest Steel Rolling Mills, Inc., 311 U.S. 46. Footnotes2. Stock dividends.↩1. Six months ended June 30.↩1. SEC. 27. CORPORATION CREDIT FOR DIVIDENDS PAID.* * * *(g) Preferential Dividends. -- No dividends paid credit shall be allowed with respect to any distribution unless the distribution is pro rata, equal in amount, and with no preference to any share of stock as compared with other shares of the same class.↩